Case 1:10-cr-20300-DMM Document 390 Entered on FLSD Docket 10/21/2010 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 10-20300-CR-Middlebrooks/Garber


  UNITED STATES OF AMERICA,

  v.

  ZENEN PUMARIEGA,

        Defendant.
  ______________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE was before the Court by Order of Reference from United States District Judge

  Donald M. Middlebrooks and the consent of the parties for the acceptance by a United States

  Magistrate Judge of a guilty plea by the defendant in this cause. Pursuant to such reference, the

  Court has conducted a change of plea hearing on October 21st, 2010, which was attended by the

  defendant Zenen Pumariega, his attorney Ricardo P. Hermida, Esquire, and Assistant United States

  Attorney Sean Thomas McLaughlin. The Court hereby advises as follows:

         1. At the commencement of the change of plea proceedings, the Court advised the defendant

  that he had a right to have these proceedings conducted by the United States District Judge assigned

  to this case. The defendant was advised that a Magistrate Judge was conducting these proceedings

  by Order of Reference from the District Judge, based upon the consent of the defendant, his attorney,

  and the Assistant United States Attorney to whom this cause is assigned, as evidenced by the filing

  of a Waiver executed by the defendant, his counsel, and government counsel. The Court advised the

  defendant that the sentence would be imposed by the District Judge, who would make all findings and
Case 1:10-cr-20300-DMM Document 390 Entered on FLSD Docket 10/21/2010 Page 2 of 4




  rulings regarding such sentence and would conduct a sentencing hearing at a time scheduled by the

  District Judge.

         2. The defendant was advised that he did not have to permit the undersigned United States

  Magistrate Judge to conduct the change of plea hearing and could request that it be conducted only

  by a United States District Judge. All parties and counsel agreed and consented to these proceedings

  being conducted by the undersigned.

         3. The Court then conducted a plea colloquy with the defendant consistent with the outline

  set forth in the Bench Book for District Judges and in conformity with the requirements of Rule 11

  of the Federal Rules of Criminal Procedure.

         4. The Court advised the defendant of the maximum sentence possibilities as to Counts 1, 2,

  and 3 of the Superseding Information to which he was tendering guilty pleas. The Court also advised

  the defendant of the mandatory special assessment of $300.00, which must be paid at the time of

  sentencing.

         5. The defendant acknowledged that he was satisfied with the services of his attorney and that

  he had full opportunity to discuss all facets of his case with his attorney, which he acknowledged that

  he understood.

         6. The defendant pled guilty to Counts 1, 2, and 3 of the Superseding Information. Count

  I, charging “[F]rom in or around November 2008, and continuing through on or about April 26,

  2010, in Miami-Dade County, in the Southern District of Florida, the defendant did knowingly, and

  with intent to defraud, produce, use, and traffic in one or more counterfeit access devices, namely,

  counterfeit credit cards, said conduct affecting interstate and foreign commerce, in violation of Title

  18, United States Code, Sections 1029(a)(1) and 2.”


                                                    2
Case 1:10-cr-20300-DMM Document 390 Entered on FLSD Docket 10/21/2010 Page 3 of 4




           Count 2 charges that the defendant, on or about April 26, 2010, in Miami-Dade County, in

  the Southern District of Florida, did knowingly and with intent to defraud, possess fifteen or more

  counterfeit and unauthorized access devices which were credit cards and unauthorized credit card

  account numbers, affecting interstate and foreign commerce, in violation of 18 U.S.C. §§1029(a)(3)

  and 2.

           Count 3 charges that on or about April 26, 2010, in the Southern District of Florida, the

  defendant “during and in relation to a felony violation of Title 18, United States Code, Section

  1029(a)(1), that is, knowingly, and with intent to defraud, produce, use, and traffic in one or more

  counterfeit access devices, namely counterfeit credit cards, said conduct affecting interstate and

  foreign commerce, as set forth in Count 1, did knowingly transfer, possess, and use, without lawful

  authority, the means of identification of another person, that is, credit card account number XXXX-

  XXXX-XXXX-8164 belonging to “S.M.” in violation of Title 18 [United States Code], Sections

  1028A(a)(1) and 2.”

           7. The defendant was advised that the penalties as to the three counts are as follows: Counts

  1 and 2 each carried a term of imprisonment of up to 10 years, fines of up to $250,000, and terms of

  supervised release of up to 3 years. Count 3 carries a mandatory sentence of 2 years imprisonment

  to be served consecutively to the sentences imposed in Counts 1 and 2, followed by a term of

  supervised release of 1 year. In addition thereto, the defendant is subject to a forfeiture as set forth

  in the Superseding Information.

           8. The government filed a factual basis, made part of the record and executed by the

  government, the defendant and his counsel, for the guilty pleas which consisted of all of the essential

  elements of the offenses to which the defendant is pleading guilty.


                                                     3
Case 1:10-cr-20300-DMM Document 390 Entered on FLSD Docket 10/21/2010 Page 4 of 4




         9. The defendant was remanded to the custody of the United States Marshal and was

  referred to the United States Probation Office for the preparation of a Pre-sentence Report.

  Sentencing was scheduled for Thursday, January 20th, 2011, at 10:30 A.M. before U.S. District

  Judge Donald M. Middlebrooks, in his Courtroom in the James Lawrence King Federal

  Justice Building, 99 NE 4th Street, Miami, Florida 33132.

         Accordingly, and based upon the foregoing and the plea colloquy conducted in this cause, the

  undersigned hereby

         RECOMMENDS that the defendant be found to have freely and voluntarily entered his guilty

  plea as to Counts 1, 2, and 3 of the Superseding Information, that his guilty pleas be accepted, that

  he be adjudicated guilty of such offenses, and that a sentencing hearing be conducted for a final

  disposition of this cause as scheduled.

         The parties have fourteen (14) days from the date of this Report and Recommendation within

  which to file written objections, if any, with United States District Judge Donald M. Middlebrooks.

  See 28 U.S.C. §636. Failure to file timely objections may bar the parties from attacking on appeal

  the factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir.), cert.

  denied, 488 U.S. 958.

         RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 21st

  day of October, 2010.


                                                        _________________________________
                                                        BARRY L. GARBER
                                                        UNITED STATES MAGISTRATE JUDGE




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